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{ Clearview AI
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Clearview Unique Attributes

Clearview acts as a search engine of publicly available images. Similar to other Internet search
engines, which pull and compile publicly available data from across the Internet into an easily
searchable tool, Clearview pulls and compiles publicly available images from across the Internet
into a proprietary image database to be used in combination with Clearview’s facial recognition
technology. Clearview is unique in that it is the only facial identification service that is turn key and
includes its own searchable proprietary database. Some of the unique attributes of Clearview's
service include the following as it relates to the searching of its proprietary database:

- Instant image-based searches of publicly available social media, online news articles,
and other open sources

+ Instant links to public online media and websites
» Proprietary image database and search engine
« Proprietary identification protocols

« Data-management functionalities

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